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                         UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                      Case Number: 21-22749-CIV-MARTINEZ-BECERRA

  JAMES RAMSDELL,

         Plaintiff,

  v.

  FIRST PREMIER BANK, et al.,

        Defendants.
  ____________________________________/

       ORDER OF DISMISSAL WITH PREJUDICE AS TO EQUIFAX INFORMATION
                            SERVICES, LLC ONLY

         THIS MATTER is before the Court upon the parties’ Joint Stipulation of Dismissal With

  Prejudice, (ECF No. 42). It is hereby:

         ORDERED AND ADJUDGED that this action is DISMISSED with prejudice solely as

  to Defendant Equifax Information Services, LLC. Each party shall bear its own attorney’s fees

  and costs. This Order shall not affect the remaining defendants.

         DONE AND ORDERED in Chambers at Miami, Florida, this 14th day of October, 2021.




                                                      ___________________________________
                                                      JOSE E. MARTINEZ
                                                      UNITED STATES DISTRICT JUDGE

  Copies provided to:
  Magistrate Judge Becerra
  All Counsel of Record
